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Judgment in a Civil Case


                          United States District Court
                      WESTERN DISTRICT OF NEW YORK



     STEVE SHEPLEY                                  JUDGMENT IN A CIVIL CASE
                                                    CASE NUMBER: 17-CV-295-S
            v.

     ALLIANT CAPITAL MANAGEMENT. LLC


     ☐ Jury Verdict. This action came before the Court for a trial by jury. The
     issues have been tried and the jury has rendered its verdict.

     ☒ Decision by Court. This action came to trial or hearing before the Court.
     The issues have been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED: that the action is hereby dismissed for failure
     to prosecute




     Date: December 11, 2017                 MARY C. LOEWENGUTH
                                             CLERK OF COURT

                                             By: s/K.McMillan
                                                 Deputy Clerk
